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 4
     Attorney for Defendant, PAUL WHITMORE
 5
 6                             UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                  CASE NO: CRF-02-5301 OWW
                                 )
10            Plaintiff,         )
                                 )                  STIPULATION AND ORDER
11        v.                     )                  TO CONTINUE HEARING ON
                                 )                  DEFENDANT’S MOTION TO
12   PAUL WHITMORE,              )                  VACATE FEDERAL CONVICTION
                                 )
13            Defendant.         )
     ____________________________)
14
              The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the hearing scheduled for January 7, 2008, be continued until February
16
     28, 2008 at 1:30 p.m. in the above-entitled court.
17
              The parties agree to the following briefing schedule: Defendant Paul
18
     Whitmore shall have until January 7, 2008 to file any supplemental pleading
19
     addressing the issues, as requested by the court at the hearing on September 4,
20
     2007. The government shall have until February 11, 2008 to submit a response
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     to Mr. Whitmore’s submission.
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              This stipulation is necessary to permit the parties to determine whether a
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     resolution of the issues central to the pending motion, now before this court, can
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     be accomplished by the parties by means of direct negotiations with state and
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     federal authorities.
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     ///
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 1        The parties also agree that any delay resulting from this continuance shall
 2   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
 3   3161(h)(8)(A) and 3161(h)(8)(B)(I).
 4
     DATED: November 30, 2007           /s/ David Gappa                  __ __
 5                                      DAVID GAPPA
                                        Assistant United States Attorney
 6                                      This was agreed to by Mr. Gappa
                                        via telephone, on November 29, 2007
 7
 8
     DATED: November 30, 2007           /s/ Roger K. Litman                   __ _
 9                                      ROGER K. LITMAN
                                        Attorney for Defendant
10                                      PAUL WHITMORE
11
12
                                         ORDER
13
          The court having considered the stipulation of the parties and GOOD CAUSE
14
     APPEARING, the court now orders that the sentencing hearing currently scheduled
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     for January 7, 2008 be continued to February 28, 2008 at 1:30 p.m.
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18
     IT IS SO ORDERED.
19
     Dated: December 1, 2007                 /s/ Oliver W. Wanger
20   emm0d6                             UNITED STATES DISTRICT JUDGE
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